Case 6:17-cv-00956-GKS-GJK Document 106 Filed 09/27/18 Page 1 of 1 PagelD 528

AO 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT FILED

for the
Middle District of Florida

2018SEP 27 PH 3: 5g

     

 

LARRY RUMBOUGH
Le mere ee Ms Ls i
Vv. ) Case No.: 6:17-cv-00956-GKS-GJK°, bh aed LORIDA
COMENITY CAPITAL BANK, et al. ) muerte LATO
)
BILL OF COSTS
Judgment having been entered in the above entitled action on 09/10/2018 against | Equifax Information Service ,
Date
the Clerk is requested to tax the following as costs:
Fees of the Clerk 20... 0... ice c cece cece cece cece een e nett even eee bbbbbeeeescce, $ 505.00

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case

Fees and disbursements for printing

Fees for witnesses (itemize on page two) 9.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....

Other costs (please itemize)... 0.6 cece cece ete ee bee ee vena een ebnbeceebec cece,
TOTAL $ 505.00

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

Declaration

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

Electronic service [| First class mail, postage prepaid

| Other:
s/ Attorney: Maes ier mnlioryt

Name of Attorney: Larry Rumbough

 

For: Larry Rumbough Date: 09/27/2018
Name of Claiming Party

 

Taxation of Costs

 

Costs are taxed in the amount of and included in the judgment.

By:

 

 

Clerk of Court Deputy Clerk Date
